
ORDER
Considering the application of petitioner, Tony T. Le, seeking the appointment of a commissioner,
IT IS HEREBY ORDERED that this matter be transferred to the Office of Disciplinary Counsel, which is authorized to conduct an investigation into the qualifications of petitioner to be admitted to the bar. The Office of Disciplinary Counsel shall appear before the Commissioner appointed pursuant to this order and shall provide such information, evidence, and recommendations to the Commissioner as may be appropriate.
IT IS FURTHER ORDERED that Robert Lohnano be and is hereby appointed as commissioner pursuant to Supreme Court Rule XVII, § 9, to take evidence and to report to this court as to whether petitioner has the appropriate character and fitness to be admitted to the Bar and allowed to practice law in the State of Louisiana.
/s/ Chet D. Traylor
Justice, Supreme Court of Louisiana
